                 Case 1:07-cr-00272-LJO Document 69 Filed 06/01/09 Page 1 of 1


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 4   Attorney for ANTONIO LAMAR PRATT
 5                                     UNITED STATES DISTRICT COURT
 6                                    EASTERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF AMERICA,       )                         NO. 1:07 cr 00272 LJO
                                     )
 9                   Plaintiff,      )                         STIPULATION TO ADVANCE
                                     )                         SENTENCING AND ORDER THEREON
10              vs.                  )
                                     )
11   ANTONIO LAMAR PRATT,            )                         DATE:       June 2, 2009
                                     )                         TIME:       8:00 AM
12                   Defendants.     )                         DEPT:       Hon. Lawrence J. O’Neill
     _______________________________ )
13
14                     IT IS HEREBY STIPULATED by and between the parties hereto through their
15   attorneys of record that the sentencing of defendant Antonio Lamar Pratt, presently
16   scheduled to be heard before the Hon. Lawrence J. O’Neill on June 5, 2009 at 8:15 AM,
17   be advanced to June 2, 2009, at the hour of 8:00 AM.
18   Dated: May 29, 2009.                 .        McGREGOR W. SCOTT, United States Attorney
19
                                                   By:_/s/ Stanley Boone_________________________
20                                                    STANLEY BOONE, Assistant U.S. Attorney
                                                      Attorney for Plaintiff
21
     Dated: May 29, 2009.
22                                                 _/s/ Daniel A. Bacon__________________________
                                                   DANIEL A. BACON,
23                                                 Attorney for Defendant ANTONIO PRATT
24
25   IT IS SO ORDERED.
26   Dated:       June 1, 2009                                 /s/ Lawrence J. O'Neill
     b9ed48                                                UNITED STATES DISTRICT JUDGE
27
28



     Stipulation to Advance Sentencing and Order Thereon                                              1
